Case 2:18-cv-03325-MWF-AS Document 53-1 Filed 06/28/19 Page 1 of 3 Page ID #:242



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                                  UNITED STATES DISTRICT COURT
   14
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   16 Amazon Content Services, LLC;             Case No. 2:18-CV-03325-MWF (AS)
        Columbia Pictures Industries, Inc.;
   17   Disney Enterprises, Inc.; Netflix       DECLARATION OF JAN VAN
        Studios, LLC; Paramount Pictures        VOORN IN SUPPORT OF
   18   Corporation; Sony Pictures Television   PLAINTIFFS’ MOTION FOR
        Inc.; Twentieth Century Fox Film        DEFAULT JUDGMENT AGAINST
   19   Corporation; Universal City Studios     DEFENDANT SET BROADCAST,
        Productions LLLP; Universal Cable       LLC
   20   Productions LLC; Universal Television
        LLC; Warner Bros. Entertainment Inc.,
   21                                           Judge: Hon. Michael W. Fitzgerald
                        Plaintiffs,
   22                                           Filed concurrently:
                 vs.                             Plaintiffs’ Motion for Default
   23                                            Judgment
        Set Broadcast, LLC d/b/a Setvnow;        Declaration of Elizabeth A. Kim
   24 Jason Labossiere; Nelson Johnson,

   25                   Defendants.
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        42347871.3
                                                          DECLARATION OF JAN VAN VOORN
                                                                   2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 53-1 Filed 06/28/19 Page 2 of 3 Page ID #:243



    1 I, Jan van Voorn, declare as follows:

    2            1.   I am Executive Vice President and Chief of Global Content Protection
    3 at the Motion Picture Association of America, Inc. (“MPAA”). I submit this

    4 declaration in support of Plaintiffs’ Motion for Default Judgment Against Set

    5 Broadcast, LLC (“Set Broadcast”). The contents of this declaration are based on my

    6 personal knowledge and the regularly kept records of the MPAA. If called upon and

    7 sworn as a witness, I could and would testify competently to the contents of this

    8 declaration.

    9            2.   The MPAA is a not-for-profit trade association that addresses issues of
   10 concern to the United States motion picture industry. The MPAA’s members

   11 depend upon effective copyright protection to protect the motion picture and

   12 television content that they finance, create, and distribute. The MPAA’s Global

   13 Content Protection group (“GCP”) is responsible, among other things, for

   14 investigating infringements of MPAA members’ copyrights and working with

   15 counsel and law enforcement to halt and remedy such violations.

   16            3.   I am familiar with Plaintiffs’ copyrighted motion pictures and
   17 television programs (“Plaintiffs’ Copyrighted Works”) that are at issue in Plaintiffs’

   18 Complaint in this action.
   19            4.   As part of our investigation, members of my staff purchased
   20 subscriptions to Set Broadcast’s “Setvnow” online streaming service prior to the

   21 filing of the Complaint in the above-titled action.

   22            5.   Using the Setvnow login credentials provided by Set Broadcast, GCP
   23 investigators searched for all of the titles listed on Exhibit A to Plaintiffs’

   24 Complaint.

   25            6.   Each such search using the Setvnow service returned at least one link to
   26 a source that, when selected by the GCP investigator, provided an unauthorized

   27 stream of the respective motion picture or television show listed on Exhibit A to the

   28 Complaint.
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                                                                 DECLARATION OF JAN VAN VOORN
                                                                          2:18-CV-03325-MWF (AS)
Case 2:18-cv-03325-MWF-AS Document 53-1 Filed 06/28/19 Page 3 of 3 Page ID #:244



    1            I declare under penalty of perjury under the laws of the United States of
    2 America that the foregoing is true and correct, and that this declaration was executed

    3 on this 27th day of June at Sherman Oaks, California.

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                                                              JAN VAN VOORN
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                                                                 DECLARATION OF JAN VAN VOORN
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